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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

CYNTHIA DOUGLAS                                      §
                                                     §
       Plaintiff,                                    §
                                                     §
vs.                                                  §    CIVIL ACTION NO.
                                                     §      5:17-CV-00005
                                                     §
METROPOLITAN LLOYDS INSURANCE                        §
COMPANY OF TEXAS,                                    §            (JURY)
                                                     §
Defendant.                                           §

                                NOTICE OF REMOVAL
                             AND DEMAND FOR JURY TRIAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW Metropolitan Lloyds Insurance Company of Texas, and files this Notice

of Removal pursuant to 28 U.S.C. §1446(a), as well as its formal Demand for Jury Trial, and in

support thereof would show the Court as follows:

1.     On December 6, 2016, Plaintiff Cynthia Douglas filed Plaintiff’s Original Petition in the

matter styled Cynthia Douglas v. Metropolitan Lloyds Insurance Company of Texas, Cause No.

B41337-1612 in the District Court of Hale County, Texas, 242nd Judicial District, in which

Plaintiff made a claim for damages under a homeowner’s policy issued to Cynthia Douglas by

Metropolitan Lloyds Insurance Company of Texas as a result of an alleged loss at her property

located at 203 Kirchwood St., Plainview, TX 79072, which occurred on May 8, 2015.

2.     Plaintiff served Metropolitan Lloyds Insurance Company of Texas with a copy of

Plaintiff’s Original Petition on December 9, 2016.




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3.      Defendant filed its Notice of Removal on January 5, 2017, which is within 30 days of

receiving Plaintiff’s Original Petition. See 28 U.S.C. §1446(b). The original Notice of Removal

was filed within one year of the commencement of this action.

4.      All pleadings, process, orders, and other filings in the state court action are attached to

this Notice as required by 28 U.S.C. §1446(a) and are attached hereto as Exhibit “A.” A copy of

this Notice of Removal is also concurrently being filed with the state court and served upon the

Plaintiff.

5.      Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and division

embrace Hale County, Texas, the place where the removed action has been pending.

                                                         I.

                                            BASIS FOR REMOVAL

6.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a), 1441(a)

and 1446.

7.      Plaintiff is, and was at the time the lawsuit was filed, a citizen of Hale County, Texas.

8.      Defendant Metropolitan Lloyds Insurance Company of Texas was, and at the date of this

Notice, remains, an association of underwriters whose individual underwriters are all residents

and citizens of either the State of Wisconsin or the State of Rhode Island and Providence

Plantations.1 “The United States Supreme Court has consistently held for over one hundred

years that the citizenship of an unincorporated association [such as Metropolitan] is determined .

. . solely by the citizenship of its members.” See Massey v. State Farm Lloyds Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998); see also Gore v. Stenson, 616 F. Supp. 895, 898-899 (S.D. Tex.

1984) (recognizing years of Supreme Court precedent reaffirming the treatment of


1 See Royal Ins. Co. v. Quinn-L Capital Corp, 3 F.3d 877, 882-884 (5th Cir. 1993), cert. denied, 522 U.S. 815
(1997); see also Massey, 993 F. Supp. At 570.


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unincorporated associations for jurisdictional purposes).2 Accordingly, Metropolitan is a citizen

of the States of Wisconsin and Rhode Island and complete diversity exists.

         A.       The Amount in Controversy Exceeds the Jurisdictional Requirements for
                  Subject Matter Jurisdiction

9.       In determining the amount in controversy, the court may consider the “policy limits . . .

penalties, statutory damages, and punitive damages.”                    St. Paul Reinsurance Co., Ltd. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); See Ray v. State Farm Lloyds, No. CIV. A.

3:98-CV-1288-G, 1999 WL 151667, at *2-3 (N.D. Tex. Mar. 10, 1999)(finding a sufficient

amount in controversy in plaintiffs’ case against their insurance company for breach of contract,

fraud, negligence, gross negligence, bad faith, violations of the Texas Insurance Code, violations

of the Texas Deceptive Trade Practices Act and mental anguish); Fairmont Travel, Inc. v.

George S. May Int’l Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims

and the potential for recovery of punitive damages for the amount in controversy determination);

Chittick v. Farmers Ins. Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient

amount in controversy after considering the nature of the claims, the types of damages sought

and the presumed net worth of the defendant in a claim brought by insureds against their

insurance company for actual and punitive damages arising from a claim they made for roof

damages).

10.      This is a civil action in which the amount in controversy exceeds $75,000.00. Plaintiff

alleges that Defendant is liable under a homeowners insurance policy because Plaintiff made a

claim under that policy and Defendant wrongfully adjusted and denied that claim. Specifically,

Plaintiff alleges that Defendant breached the insurance policy in effect at the time of the loss.



2 “Fifth Circuit jurisprudence is equally clear.” See Massey, F. Supp. At 570 (citing International Paper Co. v.
Denkmann Assoc., 116 F.3d 134, 137 (5th Cir. 1997).


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The Plaintiff is seeking monetary relief over $100,000.00, but not more than $200,000.00. (See

Plaintiff’s Original Petition attached as Exhibit A.)

                                                  II.

                           THE REMOVAL IS PROCEDURALLY CORRECT

11.     Defendant was served with the Plaintiff’s Original Petition on December 9, 2016.

Defendant filed its original Notice of Removal within the 30 day time period required by 28

U.S.C. §1446(b).

12.     Venue is proper in the District and Division under 28 U.S.C. §1446(a) because this

District and Division include the county in which the state action has been pending and because a

substantial part of the events giving rise to Plaintiff’s claims allegedly occurred in this District

and Division.

13.     Pursuant to 28 U.S.C. §1446(a) all pleadings, process, orders, and all other filings in the

state court action are attached to this Notice.

14.     Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice, written notice

of the filing will be given to Plaintiff.

15.     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal will be

filed with the Clerk of the Hale County District Court, promptly after Defendant files this Notice.

16.     Defendant hereby demands a trial by jury.

                                                  III.

                                            CONCLUSION

        Based on the foregoing, the exhibits submitted in support of this Removal and other

documents filed contemporaneously with this Notice of Removal and fully incorporated herein




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by reference, Defendant Metropolitan Lloyds Insurance Company of Texas, hereby removes this

case to this court for trial and determination.

                                                  Respectfully submitted,

                                                  STACY | CONDER | ALLEN LLP


                                                         /s/ - Dennis D. Conder
                                                  By:    Dennis D. Conder
                                                         State Bar No. 04656400

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                                                  ATTORNEYS FOR DEFENDANT
                                                  METROPOLITAN LLOYDS INSURANCE
                                                  COMPANY OF TEXAS


                   CERTIFICATE OF SERVICE FOR NOTICE OF REMOVAL

       On January 5, 2017, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record by facsimile or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                         /s/ - Dennis D. Conder
                                                  Dennis D. Conder
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